                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF TENNESSEE


  ANDREW JOSTEN LOVINGOOD                              )
                                                       )
  Plaintiff,                                           )
                                                       )       Docket No.: 3:19-CV-00009
                                                       )
  v.                                                   )
                                                       )
  BILL JOHNSON,                                        )
  DERRICK GRAVES, and                                  )
  MONROE COUNTY, TENNESSEE                             )
                                                       )
  Defendants.                                          )

   MOTION IN LIMINE TO EXCLUDE ANY REFERENCE TO BATH SALTS OR ANY
                OTHER SUBSTACE and OR ANY INTOXICANT

                    COMES NOW, the Plaintiffs, by and through undersigned counsel, and would

  respectfully request that this Honorable Court enter an Order excluding the Defendants and any

  witnesses from stating in any fashion the phrase, “excited delirium”, along with any references

  which allude to a speculation that any intoxicant was ingested by the Plaintiff or the Plaintiff was

  under the influence of any substance whatsoever.

         IN SUPPORT, Plaintiff states as follows:

         1. Specific tests were conducted by medical professionals which did not reveal that the

  Plaintiff was under the influence of any intoxicant which effected his demeanor or mannerism.

         2.      The reference that the Plaintiff was demonstrating or conducting himself as being

  under the influence any substance is unfounded, purely speculative, suggestive, and such a

  substance has not been identified by any scientific testing or methods or is not contained in any

  reports conducted.



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         3.      Any representation by any witness or member of the Defense is mere

  speculation which is highly outweighed by its’ prejudicial affect on the jury.

                                          MEMORANDUM

         I.    Federal Rules of Evidence 401 and 402 Prohibit the Admission of the Evidence

         Rule 402 of the Federal Rules of Evidence provides that “Irrelevant evidence is not

  admissible.” Per Rule 401 of the Federal Rules of Evidence, “Evidence is relevant if (a) is has any

  tendency to make a fact more or less probable than it would be without the evidence; and (b) the

  fact is of consequence in determining the action.” As shown by Defendant mentioning “under the

  influence of bath salts” in its filings Defendant will likely argue that Plaintiff while attempting to

  save his own life somehow exhibited signs of intoxication from having particular drugs identified

  in his system. Therefore, under Rules 401 & 402 of the Federal Rules of Evidence, any evidence

  or argument should be barred.

         II.   Federal Rules of Evidence 403 Prohibit the Admission of the Evidence

         Any mention of intoxication should be barred under Rule 403 of the Federal Rules of

  Evidence. Rule 403 of the Federal Rules of Evidence provides that evidence should be excluded if

  its “probative value” is “substantially outweighed by the danger of unfair prejudice.” Plaintiffs

  state that this evidence has any probative value. However, even if it has some probative value, it

  would be minimal at best because it has no bearing on Mr. Lovingood’s actions or the accounts of

  what occurred when Mr. Lovingood was fighting for his own life. Furthermore, the probative value

  would be “substantially outweighed by the danger of unfair prejudice.”

         III. The Defendants have Offered No Expert to Testify Regarding

         To allow the Defendants to offer this testimony without having identified any expert

  evidence or testimony regarding their mere speculation would disregard the clear intention of the


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  Rules of Evidence, Daubert, and this Honorable Courts Orders. Such, should be prohibited.

         WHEREFORE, Plaintigg respectfully requests that this Honorable Court instruct and

  order the Defendants to instruct its witnesses to refrain from referring to or making any

  representations that the alleged victim had been consumed any narcotic or was displaying actions

  of consistent with intoxication.


         RESPECTFULLY SUBMITTED, this the 15th day of November, 2021.



                                                     THE BOWLIN LAW FIRM P.C.



                                              By:                                    for The Firm
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was transmitted for service via Pacer and this
  Court’s Electronic Court Filing System to:



         This the 15th day of November, 2021.

                                                       THE BOWLIN LAW FIRM P.C.



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